          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                         CRIMINAL NO. 3:03CR68


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )            ORDER
                                          )
                                          )
DAVID SIMONINI                            )
                                          )


      THIS MATTER is before the Court on the Defendant’s motion for the

early termination of his supervised release, filed July 17, 2009.

      The Government has responded to the motion, stating that while it

does not oppose the relief sought, termination should not include

remittance of any portion of the “restitution for which the Defendant is joint

and severally liable.” Government’s Response, filed July 29, 2009, at 1.

      On review of the Defendant’s motion, this Court finds for the reasons

stated therein, that early termination of the Defendant’s supervised release

should be granted.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion is

ALLOWED, and Defendant's supervised release is hereby TERMINATED.




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      IT IS FURTHER ORDERED that any outstanding financial obligations

are to be collected by civil means through the United States Attorney’s

Office.

      The Clerk is directed to transmit this Order electronically to the

United States Attorney, the United States Marshal, the United States

Probation Office, and to defense counsel.

                                       Signed: August 6, 2009




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